                 Case 22-10285-TPA                      Doc 10         Filed 07/07/22 Entered 07/07/22 15:31:06         Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                  IN RE: Jeremy David Passamonte                                                       CHAPTER 13
                               Bobbi Jo Passamonte
                                             Debtor(s)                                             BKY. NO. 22-10285 TPA


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                          Kindly enter my appearance on behalf of Rocket Mortgage, LLC f/k/a Quicken Loans,
                    LLC f/k/a Quicken Loans Inc. and index same on the master mailing list.



                                                                  Respectfully submitted,


                                                                  /s/ ${s:1:y:_________________________}
                                                                      Brian Nicholas
                                                                      06 Jul 2022, 15:42:25, EDT

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